Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 1 of 37 Page ID #:540
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 2 of 37 Page ID #:541
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 3 of 37 Page ID #:542
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 4 of 37 Page ID #:543
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 5 of 37 Page ID #:544
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 6 of 37 Page ID #:545
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 7 of 37 Page ID #:546
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 8 of 37 Page ID #:547
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 9 of 37 Page ID #:548
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 10 of 37 Page ID
                                  #:549
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 11 of 37 Page ID
                                  #:550
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 12 of 37 Page ID
                                  #:551
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 13 of 37 Page ID
                                  #:552
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 14 of 37 Page ID
                                  #:553
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 15 of 37 Page ID
                                  #:554
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 16 of 37 Page ID
                                  #:555
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 17 of 37 Page ID
                                  #:556
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 18 of 37 Page ID
                                  #:557
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 19 of 37 Page ID
                                  #:558
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 20 of 37 Page ID
                                  #:559
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 21 of 37 Page ID
                                  #:560
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 22 of 37 Page ID
                                  #:561
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 23 of 37 Page ID
                                  #:562
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 24 of 37 Page ID
                                  #:563
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 25 of 37 Page ID
                                  #:564
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 26 of 37 Page ID
                                  #:565
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 27 of 37 Page ID
                                  #:566
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 28 of 37 Page ID
                                  #:567
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 29 of 37 Page ID
                                  #:568
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 30 of 37 Page ID
                                  #:569
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 31 of 37 Page ID
                                  #:570
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 32 of 37 Page ID
                                  #:571
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 33 of 37 Page ID
                                  #:572
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 34 of 37 Page ID
                                  #:573
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 35 of 37 Page ID
                                  #:574
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 36 of 37 Page ID
                                  #:575
Case 2:19-cv-08946-DSF-JPR Document 55-2 Filed 06/01/21 Page 37 of 37 Page ID
                                  #:576
